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                                   1                                 UNITED STATES DISTRICT COURT

                                   2                                NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4    THERESA BROOKE,                                    Case No. 17-cv-06034-WHO
                                                       Plaintiff,
                                   5
                                                                                           ORDER TO SHOW CAUSE
                                                v.
                                   6

                                   7    RK INVESTMENT PROPERTIES INC.,
                                                       Defendant.
                                   8

                                   9          Defendant is ORDERED TO SHOW CAUSE to explain why the default judgment

                                  10   requested by plaintiff (Dkt. No. 12-2) should not be entered in this case. The response to this

                                  11   Order to Show Cause shall be filed on or before March 21, 2018.

                                  12          Plaintiff’s counsel shall personally serve this Order to Show Cause (as well as the motion
Northern District of California
 United States District Court




                                  13   for default judgment and the proposed order thereon) on defendant. Plaintiff’s counsel shall also

                                  14   make at least two attempts, on separate dates, to call and speak on the phone with an owner or

                                  15   manager of RK Investment Properties, Inc. dba the Imperial Inn to advise defendant of this Order

                                  16   to Show Cause and the pending motion for entry of default judgment. Personal service shall be

                                  17   completed by February 21, 2018 and the phone calls shall be made by February 28, 2018.

                                  18          On or before March 14, 2018, plaintiff’s counsel shall file a declaration confirming that

                                  19   personal service was made and describing the attempts and results of the phone calls.

                                  20          After March 14, 2018, the motion for entry of default judgment will be taken under

                                  21   submission and no further briefing or action will be required unless I order otherwise.

                                  22          IT IS SO ORDERED.

                                  23   Dated: February 7, 2018

                                  24
                                                                                                    William H. Orrick
                                  25                                                                United States District Judge
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